                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


GUADALUPE ADAMS,                                    )
                                                    )
                        Plaintiff,                  )
                                                    )
       vs.                                          )       Case No. 6:15-cv-03265-MDH
                                                    )
ROOMS 4U, LLC,                                      )
                                                    )
                        Defendant.                  )


                                 ORDER TO SHOW CAUSE

       The parties are to show cause by April 15, 2016, why they have failed to file joint status

reports with the Court as contained in the Court’s Scheduling and Trial Order of October 19,

2015, (Doc. 18, Section C.2.)

       IT IS SO ORDERED.

DATED:        March 31, 2016

                                                      /s/ Douglas Harpool_______________
                                                      DOUGLAS HARPOOL
                                                    UNITED STATES DISTRICT JUDGE




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